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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 IN THE MATTER OF THE APPLICATION OF
 WP COMPANY LLC d/b/a THE WASHINGTON Misc. Action No. 19-51 (EGS)
 POST FOR ACCESS TO CERTAIN SEALED
 RECORDS


                  GOVERNMENT’S STATUS REPORT REGARDING
                NEED TO CONTINUE LIMITED SEALING OF RECORDS

       Pursuant to this Court’s Order of September 12, 2019, the government submits this status

report regarding the further unsealing of records submitted to the Court in United States v. Michael

T. Flynn, No. 17-cr-232-EGS (D.D.C.). During the course of these proceedings, the government

has moved to unseal a substantial portion of the material at issue, including most recently on

December 10, 2019. The need for the limited redactions that remain has not changed since the

Court last considered the matter. These remaining redactions remain necessary to protect ongoing

investigations, privacy rights, and government deliberations.

                                        BACKGROUND

       This is a miscellaneous action seeking public access to documents filed with the Court in

United States v. Michael T. Flynn, No. 17-cr-232-EGS (D.D.C.). In anticipation of the then-

scheduled sentencing of Flynn, the government and Flynn filed a number of documents with the

Court to aid in its sentencing decision. With the Court’s approval, for some of those documents

the parties filed a sealed version and corresponding public version with redactions, in order to

protect specific compelling governmental interests.

       On April 12, 2019, the Washington Post filed this miscellaneous action and moved to

unseal several of those filings. The government opposed the motion in part. See Doc. 8. In light

of certain changed circumstances, including the public release of information regarding the Special
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Counsel’s investigation, the government moved to lift a number of redactions on the documents at

issue, but represented that certain limited redactions remained necessary to protect ongoing

investigations, the privacy rights of uncharged third parties, and deliberative material. Id. at 1, 4-

7; see Flynn Doc. 74 (government’s motion to unseal); see also Doc. 11 (supplemental motion by

Washington Post); Doc. 15 (government’s response to supplemental motion); Flynn Doc. 85

(further government motion to unseal).

       On June 24, 2019, the Court held a hearing on this matter. The Court noted “the efforts

the government has made to release information,” 6/24/19 Tr. 18, and the government addressed

the specific compelling interests in those limited remaining redactions—ongoing investigations,

personal privacy, and the protection of internal government deliberations typically covered by the

deliberative process privilege. Id. at 18-26.

       Pursuant to the Court’s Order issued the same day, the parties filed a joint proposal

confirming what materials remained at issue and suggesting an ongoing process to address any

further unsealing. See Doc. 20. That proposal clarified that the only materials at issue were a

portion of the Addendum to the Government's Memorandum in Aid of Sentencing (Flynn Doc.

75) (“Sentencing Addendum”), and the August 22, 2017 Form FD-302 of the interview with

former FBI Deputy Assistant Director Peter Strzok (Flynn Doc. 77) (“Strzok 302”). The proposal

laid out a two-stage process for addressing the remaining redactions.

       On September 12, 2019, the Court issued its order. See Doc. 22. Pursuant to that Order,

the government must file a status report by the sooner of December 11, 2019, or 20 days after

Flynn’s sentencing, explaining any need for continued sealing of the two documents still at issue.

Id. at 1. Within the later of 90 days of that status report or 20 days after Flynn’s sentencing, those

redactions will be lifted as a default, absent a showing why further sealing is warranted. Id.




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                                          DISCUSSION

       Limited redactions to two documents remain at issue. These are (1) the Sentencing

Addendum (filed in redacted form at Flynn Doc. 75; unredacted form at Flynn Doc. 46.1), and (2)

the Strzok 302 (filed in redacted form as Flynn Doc. 77; “unredacted” form as Flynn Doc. 51.1).1

The need for these limited redactions has not changed since June 24, 2019, and remains ongoing.

       Limited information in the Sentencing Addendum remains redacted to protect ongoing

investigations.2 See 6/24/19 Tr. 19; Doc. 8 at 6. These investigations remain ongoing, and the

disclosure of the redacted information would threaten the integrity of those ongoing investigations.

A portion of the redactions also would reveal a matter before the grand jury, and is therefore

covered by Federal Rule of Criminal Procedure 6(e).3



       1
          The “unredacted” Strzok 302 is the record that the government provided to the defense,
which itself contained redactions. As the government previously informed the Court, the
redactions in the version that the defendant received in discovery removed information that was
not responsive to the Court’s Standing Order, and to protect classified information, information
related to ongoing investigations, and information subject to a government privilege. See, e.g.,
Doc. 8 n.2. The defendant provided that document to the Court at its request. The “unredacted”
version therefore contains redactions, but is the version that is part of the record.

       2
          The government is seeking to disclose publicly information in the Sentencing Addendum
that is currently under seal. Late in the evening on December 10, 2019, the government filed a
sealed motion with this Court to disclose publicly a new version of the Sentencing Addendum with
fewer redactions. That motion is pending.

       3
         There is “no First Amendment right of access to grand jury proceedings.” In re Motions
of Dow Jones & Co., 142 F.3d 496, 499 (D.C. Cir. 1998); see In re Grand Jury Subpoena, Judith
Miller, 493 F.3d 152, 154 (D.C. Cir. 2007). The First Amendment creates a qualified right of
access to judicial proceedings that “have historically been open to the press and general public,”
and where “public access plays a significant positive role in the functioning of the particular
process in question.” Press-Enterprise Co. v. Superior Court, 478 U.S. 1, 8-9 (1986). But grand
jury proceedings have historically been closed to the public. See Levine v. United States, 362 U.S.
610, 617 (1960); see also Douglas Oil Co. v. Petrol Stops Nw., 441 U.S. 211, 218 (1979). And
“‘the proper functioning of our grand jury system depends on the secrecy of grand jury
proceedings.’” Press Enterprise, 478 U.S. at 9 (quoting Douglas Oil, 441 U.S. at 218). The
common law also does not apply to “proceedings involving a grand jury” and would, in any event,


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       Limited information in the Strzok 302 is redacted to protect privacy interests and to protect

internal government deliberations. See Doc. 8 at 2; 6/24/19 Tr. 19-24. As the government

explained at the June 24 hearing, information concerning government deliberations is shielded to

ensure that government officials can freely recommend, consider, and discuss decisions without

fear of those internal discussions later being made public. Id. at 21-24. These redactions therefore

serve to prevent the chilling effect of releasing internal deliberations. Id. at 22-23, 23-24, 25-26.



                                                      Respectfully submitted,

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Dated: December 10, 2019




be governed by Rule 6(e)(5) and Rule 6(e)(6) of the Federal Rules of Criminal Procedure. Dow
Jones, 142 F.3d at 504 (citation omitted).


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                               CERTIFICATE OF SERVICE


      I, Jocelyn Ballantine, certify that I caused to be served a copy of the foregoing by electronic
means on counsel of record for the movant, WP Company LLC, on December 10, 2019.



                                              ______/s/_______________
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